                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                             )      Chapter 13
    ROBERT BRUCE                                   )      Docket No. 20-12971-MDC
                            Debtor                 )
                                                   )      MOTION FOR STAY RELIEF
                                                   )      103 W. Albemarle Ave., Lansdowne, PA
    SANTANDER BANK, N.A.                           )
                  Movant                           )
         vs.                                       )
                                                   )
    ROBERT BRUCE                                   )
                            Respondent             )

                                                ORDER

             AND NOW, this                   day of                  , 2021, upon the written

Stipulation for Stay Relief signed by the Debtor, Robert Bruce, his counsel, Christopher Bokas,

Esq., and Santander Bank (“Santander”), by and through its counsel Thomas A. Capehart, Esq., it

is hereby:

             ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy

Code shall be conditionally terminated with respect to Santander as of this date;

               ORDERED, that if the Debtor fails to make the payments as required under the

terms of the Stipulation, Santander shall, following a ten (10) day notice to debtor and debtor’s

counsel, be authorized to then file a Certificate of Default with the Court, upon which the

Automatic Stay provisions of Section 362 shall be unconditionally terminated with respect to

Santander and Santander shall be entitled to proceed with available state court remedies against

the Premises located at 103 W. Albemarle Ave., Lansdowne, Delaware County, Pennsylvania

(“Premises”), including without limitation, a mortgage foreclosure and Sheriff’s Sale of the

Premises, all without further application to this Court or notice to the Debtor or his counsel.
               ORDERED, that this Order shall not be stayed until the expiration of the 14 days

after its entry pursuant to Bankruptcy Rule 4001(a) but rather shall become effective as of the date

this Order is signed.


                                                   BY THE COURT:




                                                   MAGDELINE D. COLEMAN
                                                   Chief United States Bankruptcy Judge
